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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

 v.                                                  Criminal Case No. 22-cr-00007-LKG

 MARILYN J. MOSBY                                    Dated: January 9, 2023

                        Defendant.


  DEFENDANT’S SUPPLEMENT TO MOTION TO CONTINUE RESPONSE FILING
                           DEADLINE

       Defendant Marilyn J. Mosby (“Ms. Mosby”) by and through her undersigned counsel,

submits this supplement to her Motion to Continue Response Filing Deadline (ECF No. 177). In

support thereof, counsel state as follows:

       1.      On January 19, 2023, counsel for Ms. Mosby moved to withdraw (ECF No. 174).

As part of that motion, counsel requested that “all deadlines in this matter be held in abeyance,

until new counsel has entered their appearance.” This motion is pending, and a status conference

has been scheduled for January 27, 2023.

       2.      On the morning of January 23, 2023, counsel for Ms. Mosby submitted a Motion

to Continue Response Filing Deadline to this Court (ECF No. 177). In that Motion, counsel again

requested a stay of all deadlines due to the pending Motion to Withdraw filed by all counsel for

Ms. Mosby. That stay would include today’s deadline to reply to all outstanding pre-trial motions.

       3.      The Court has not yet ruled on that Motion.

       4.      Given the hour, counsel for Ms. Mosby do not anticipate that the Court will rule on

Defendant’s Motion to Continue Response Filing Deadline.
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        5.      Mindful of the Court’s scheduling order, and in an effort to be as respectful as

possible to the Court’s authority, Defendant submits this Supplement to its Motion to Continue

Response Filing Deadline.

        6.      This submission is made without any admissions or concessions with regard to any

arguments made by the Government in opposition to the pending Motion for Withdrawal, and

without any prejudice to the position of Ms. Mosby’s counsel that all lawyers have good cause for

withdrawal.

        7.      As part of this submission, Exhibit A outlines Defendant’s Reply to the

Government’s Omnibus Motion to Exclude Defendant’s Experts.

        8.      Counsel for Ms. Mosby submits the Exhibit contained herein, rather than a full

reply brief, mindful of the fact that current counsel does not wish to respond to the Government’s

Motion to Exclude in a manner that would prejudice or bind any subsequent counsel, if the Motion

to Withdraw is granted and replacement counsel are permitted to enter their appearances.

        9.      The Government argues in its Response to the Motion to Continue Response

Deadlines that the deadline for filing this reply has been in place since this Court issued the

September 15, 2022 scheduling order, and that therefore no extension of the deadlines is warranted.

        10.     However, circumstances have changed drastically since the issuance of that

scheduling order. First, the defense was not aware that the Government planned to file a motion

to exclude until it was, in fact, filed on January 9, 2023. Second, the defense was not aware that

the motion would be in excess of this Court’s established page limit. Further, counsel for the

defense only identified the existence of a potential conflict (and therefore the need to withdraw

from the representation of Ms. Mosby) six days ago, and has been diligently working to resolve

the issues related to that conflict since that time.




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       11.     Finally, the Government will suffer no prejudice if Defendant’s request to continue

deadlines is extended. All parties, including Ms. Mosby, will be better served by holding all

deadlines in abeyance until the issues surrounding potential conflicts of interest are resolved by

this Court. The Court has also scheduled a status conference for Friday, January 27, 2023. If

necessary, the parties may be available before that time to resolve the various issues involved with

the Motion to Withdraw.



       WHEREFORE, Defendant Marilyn J. Mosby and her counsel respectfully request that this

Court 1) grant Defendant’s Motion to Continue Response Deadlines; 2) consider the attached

Exhibit A to satisfy the deadline previously set by this Court until such time as this Court sets a

new briefing schedule; and 3) grant such other relief as it deems proper.


Dated: January 23, 2022                Respectfully Submitted,



                                        /s/ Gary E. Proctor

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                                CERTIFICATE OF SERVICE


       I certify that, on January 23, 2023, this document was electronically filed with the Clerk of

Court using the Court’s CM/ECF system, which will then serve a notification of the filing to the

registered parties of record.




                                       /s/ Gary E. Proctor
                                       Gary E. Proctor




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